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                                                     U.S. Department of Justice

                                                     Andrew E. Lelling
                                                     United States Attorney
                                                     District of Massachusetts

Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     August 6, 2018

Robert Sheketoff
One McKinley Square
Boston, MA 02109

          Re:       United States v. Kevin Sweeney
                    Criminal No.

Dear Attorney Sheketoff:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Kevin Sweeney (“Defendant”), agree as follows with respect to the above-referenced case:

          1.        Change of Plea

        At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Information attached to this Plea Agreement charging him with: embezzlement from an agency
receiving federal funds, in violation of 18 U.S.C. § 666(a)(1)(A); and wire fraud, in violation of
18 U.S.C. § 1343. Defendant expressly and unequivocally admits that he committed the crimes
charged in Counts One and Two of the Information, did so knowingly, intentionally, and willfully,
and is in fact guilty of those offenses.

          2.        Penalties

        Defendant faces the following maximum penalties on each count of the Information: Count
One - incarceration for 10 years, supervised release for three years, a fine of $250,000, or twice
the gross gain/loss, whichever is greater, a mandatory special assessment of $100, restitution, and
forfeiture to the extent charged in the Information; and Count Two - incarceration for 20 years,
supervised release for three years, a fine of $250,000, or twice the gross gain/loss, whichever is
greater, a mandatory special assessment of $100, restitution, and forfeiture to the extent charged
in the Information.


          Defendant also recognizes that pleading guilty may have consequences with respect to
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Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense(s) to which Defendant
is pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

       3.      Sentencing Guidelines

        The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

       The parties agree that Defendant’s total offense level under the USSG (prior to any
adjustment for acceptance of responsibility) is calculated as follows:

               a) in accordance with USSG § 2B1.1(a)(1), Defendant’s base offense level is 7,
                  because wire fraud has a statutory term of imprisonment of twenty years;

               b) in accordance with USSG § 2B1.1(b)(1)(B), Defendant’s offense level is
                  increased by 2 levels, because the loss amount is greater than $6,500 but less
                  than $15,000;

               c) in accordance with USSG § 2B1.1(b)(10)(C), Defendant’s offense level is
                  increased by 2 levels, because the offense otherwise involved sophisticated
                  means and the Defendant intentionally engaged in or caused the conduct
                  constituting sophisticated means;

               d) in accordance with USSG § 3B1.3, Defendant’s offense level is increased by 2
                  levels, because the Defendant abused a position of public trust; and

               e) In accordance with USSG § 3D1.2, Counts One and Two would be grouped.


        If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant’s medical, mental, and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant’s medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.

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Attorney forthwith copies of any such records already in Defendant’s possession. In addition,
Defendant will authorize Defendant’s care providers to discuss Defendant’s condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel).

      The U.S. Attorney will oppose any argument for a departure from, or a sentence outside,
the USSG under the factors set forth in 18 U.S.C. § 3553(a).

        Based on Defendant’s prompt acceptance of personal responsibility for the offense(s) of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by two levels Defendant’s adjusted offense level under
USSG § 3E1.1.

         The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

               a) Fails to admit a complete factual basis for the plea;

               b) Fails to truthfully admit Defendant’s conduct in the offense(s) of conviction;

               c) Falsely denies, or frivolously contests, relevant conduct for which Defendant is
                  accountable under USSG § 1B1.3;

               d) Fails to provide truthful information about Defendant’s financial status;

               e) Gives false or misleading testimony in any proceeding relating to the criminal
                  conduct charged in this case and any relevant conduct for which Defendant is
                  accountable under USSG § 1B1.3;

               f) Engages in acts that form a basis for finding that Defendant has obstructed or
                  impeded the administration of justice under USSG § 3C1.1;

               g) Intentionally fails to appear in Court or violates any condition of release;

               h) Commits a crime;

               i) Transfers any asset protected under any provision of this Plea Agreement; or

               j) Attempts to withdraw Defendant’s guilty plea.

         Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands

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and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence before the Court:

               a) incarceration for a period of not less than eight months and not greater than
                  fourteen months;

               b) a fine within the Guidelines sentencing range as calculated by the Court at
                  sentencing, excluding departures, unless the Court finds that Defendant is not
                  able and, even with the use of a reasonable installment schedule, is not likely to
                  become able to pay a fine;

               c) 12 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Court on or before the date of sentencing (unless Defendant establishes
                  to the Court’s satisfaction that Defendant is unable to do so);

               e) restitution of $11,103.75; and

               f) forfeiture as set forth in Paragraph 9.

       The Defendant reserves the right to argue for an alternative sentence.

       Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

       5.      Protection of Assets for Payment of Restitution, Forfeiture and Fine

        Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement.

      Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest without prior express written consent of the U.S. Attorney, except for:


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               a) Assets subject to superior, secured interests of innocent third parties, in which
                  Defendant has an equity interest of less than $5,000;

               b) Ordinary living expenses necessary to house, clothe, transport, and feed
                  Defendant and those to whom Defendant owes a legal duty of support, so long
                  as such assets do not exceed $7,500 per month; and

               c) Attorney’s fees incurred in connection with this criminal case.

        This prohibition shall be effective as of the date of Defendant’s execution of this Plea
Agreement and continue until the fine, forfeiture, and restitution ordered by the Court at sentencing
are satisfied in full.

       If the U.S. Attorney requests, Defendant further agrees to complete truthfully and
accurately the enclosed sworn financial statement and to deliver that statement to the U.S. Attorney
within 30 days of signing this Plea Agreement.

       6.      Waiver of Rights to Appeal and to Bring Future Challenge

               a) Defendant has conferred with his attorney and understands that he has the right
                  to challenge both his conviction and his sentence (including any orders relating
                  to the terms and conditions of supervised release, fines, forfeiture, and
                  restitution) on direct appeal. Defendant also understands that, in some
                  circumstances, Defendant may be able to argue in a future proceeding
                  (collateral or otherwise), such as pursuant to a motion under 28 U.S.C. § 2255,
                  28 U.S.C. § 2241, or 18 U.S.C. § 3582(c), that Defendant’s conviction should
                  be set aside or Defendant’s sentence (including any orders relating to the terms
                  and conditions of supervised release, fines, forfeiture, and restitution) set aside
                  or reduced.

               b) Defendant waives any right to challenge Defendant’s conviction on direct
                  appeal or in a future proceeding (collateral or otherwise).

               c) Defendant agrees not to file a direct appeal or challenge in a future proceeding
                  (collateral or otherwise) any sentence of imprisonment of fourteen months or
                  less or any orders relating to the terms and conditions of supervised release,
                  fines, forfeiture, and restitution. This provision is binding even if the Court’s
                  Guidelines analysis is different from that set forth in this Plea Agreement.

               d) This Plea Agreement does not affect the rights of the United States as set forth
                  in 18 U.S.C. § 3742(b). Defendant understands and acknowledges that the U.S.
                  Attorney has retained all appeal rights.

               e) Regardless of the previous sub-paragraphs, Defendant reserves the right to
                  claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
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                   under Strickland v. Washington; or (ii) the prosecutor in this case engaged in
                   misconduct that entitles Defendant to relief from Defendant’s conviction or
                   sentence.

       7.      Other Post-Sentence Events

               a) If, despite the waiver provision of sub-paragraph 6(c), Defendant appeals or
                  challenges in a future proceeding (collateral or otherwise) Defendant’s
                  sentence, the U.S. Attorney reserves the right to argue the correctness of the
                  sentence imposed by the Court (in addition to arguing that any appeal or future
                  challenge (collateral or otherwise) is waived as a result of the waiver in sub-
                  paragraph 6(c)).

               b) If, despite the waiver provision of sub-paragraph 6(c), Defendant seeks re-
                  sentencing, Defendant agrees not to seek to be re-sentenced with the benefit of
                  any change to the Criminal History Category that the Court calculated at the
                  time of Defendant’s original sentencing, except to the extent that Defendant has
                  been found actually factually innocent of a prior crime.

               c) In the event of a re-sentencing following an appeal from or future challenge
                  (collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves the
                  right to seek a departure from and a sentence outside the USSG if, and to the
                  extent, necessary to reinstate the sentence the U.S. Attorney advocated at
                  Defendant’s initial sentencing pursuant to this Plea Agreement.

       8.      Court Not Bound by Plea Agreement

       The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law, the sentence to be imposed is within the sole discretion
of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P. 11(c)(1)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties’ USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attorney’s USSG calculations or
recommendations, the U.S. Attorney reserves the right to defend the Court’s calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).

       9.      Forfeiture

        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.



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       10.     Information for Presentence Report

       Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets.

       11.     Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

       12.     Rejection of Plea by Court

       Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

       13.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

       14.     Who is Bound by Plea Agreement

        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.




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